 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE
 2    Devin L. Pace #256514
      Nanette Dumas #148261
 3    Jane Z. Bohrer #243692
      P O BOX 50013
 4    SAN JOSE, CA 95150-0013

 5    Telephone: (408) 354-4413
      Facsimile: (408) 354-5513
 6

 7
                                UNITED STATES BANKRUPTCY COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
 9

10
      In Re:                                                   Chapter 13
11
      GLORIA CABRAL ROBLES                                     Case No. 18-51575 MEH
12
                                                               MOTION TO DISMISS
13                                                             PRE-CONFIRMATION
                                                               PURSUANT TO
14                                                             11 U.S.C. § 1307(c)

15                                                             Hearing Date: not set
                                                               Hearing Time: not set
16                                    Debtor                   Judge: Hon. M. Elaine Hammond
17

18
          Devin Derham-Burk, Chapter 13 Standing Trustee (the Trustee) hereby moves this Court for
19
      dismissal of this case for "cause" pursuant to 11 U.S.C. § 1307(c) based on the failure of the
20
      Debtor to prosecute this case. The motion is brought in accordance with Federal Rules of
21
      Bankruptcy Procedure 9013, 9014 and Bankruptcy Local Rule 9014-1. In support of this motion,
22
      Trustee requests that the Court take judicial notice of its own records in this case pursuant to Fed.
23
      R. Evid. 201 made applicable to bankruptcy proceedings pursuant to Fed. R. Bankr. P. 9017.
24

25

26

     Case: 18-51575      Doc# 68      Filed: 18-51575
                                             12/07/18 M EH -Entered:     12/07/18
                                                             M otion to Dismiss       18:46:56 Page
                                                                                Case Pre-Confirmation        1 3of 3
                                                                                                      Page 1 of
                                         FACTUAL BACKGROUND
 1
          1. The Chapter 13 petition was filed on July 17, 2018. [Docket #1]
 2
          2. Devin Derham-Burk is the duly appointed Chapter 13 Trustee in this matter.
 3
          3. The Trustee has had an Objection to Confirmation ("Objection") pending since August 30,
 4
      2018. [Docket #20]. The unresolved point(s) raised in the Trustee's objection, and any
 5
      amendments thereto, prevent the Trustee from recommending confirmation of the Chapter 13 plan.
 6
          4. Moreover, to the extent that another party has filed an objection to confirmation that
 7
      remains unresolved and/or the debtor has not made plan payments (including amounts coming due
 8
      prior to any hearing on this motion), these serve as additional and independent impediments to
 9
      confirmation.
10
          5. The failure of the debtor to act promptly to resolve all impediments to confirmation has
11
      caused unreasonable delay that is prejudicial to creditors because creditors are not receiving
12
      payments and/or cannot exercise their State Court remedies to collect their debts while the debtor
13
      enjoys the benefit of bankruptcy protection in this case.
14

15
                                            LEGAL ARGUMENT
16
          Section 1307(c) of the Bankruptcy Code authorizes the Trustee to bring a motion to dismiss a
17
      chapter 13 case for “cause” if it is in the best interests of the creditors and the estate. The Court
18
      can consider any “cause,” including but not limited to the enumerated grounds in subsection (c).
19
      Section 1307(c)(1) permits dismissal for “unreasonable delay by the debtor that is prejudicial to
20
      creditors.” 11 U.S.C. § 1307(c)(1).
21

22

23

24

25

26

     Case: 18-51575       Doc# 68      Filed: 18-51575
                                              12/07/18 M EH -Entered:     12/07/18
                                                              M otion to Dismiss       18:46:56 Page
                                                                                 Case Pre-Confirmation        2 3of 3
                                                                                                       Page 2 of
 1   A debtor filing a chapter 13 case assumes responsibility for taking reasonable steps to move the

 2   case toward confirmation of a chapter 13 plan. In re Jackson, 2007 WL 1188202, at *7 (Bankr.

 3   E.D. Pa. Apr. 18, 2007). Chapter 13 debtors simply do not have an unlimited amount of time to

 4   accomplish plan confirmation. In re Tran, 2006 WL 6811015, at *7 (B.A.P. 9th Cir. Aug. 8,

 5   2006). Prompt plan confirmation is important because creditors’ rights are constrained by the
     automatic stay as soon as the petition is filed.
 6
     As a result, courts have dismissed cases based on debtor inaction. See Jackson, 2007 WL
 7
     1188202 at *7 (noting that, at bottom, case was seven months old but no closer to confirmation
 8
     than the day it was filed).
 9
     This case has been pending a total of 4 months with little to no progress. In light of the passage of
10
     time and the failure of Debtor to prosecute this case, the case should be dismissed.
11
                                                CONCLUSION
12
         WHEREFORE, the Trustee respectfully requests that the Court grant her motion and dismiss
13
     this case for cause pursuant to 11 U.S.C. § 1307(c).
14

15

16

17

18
      Dated: December 07, 2018                                   /s/ Devin Derham-Burk
19

20                                                             Chapter 13 Standing Trustee

21

22

23

24

25

26


 Case: 18-51575         Doc# 68      Filed: 18-51575
                                            12/07/18 M EH -Entered:     12/07/18
                                                            M otion to Dismiss       18:46:56 Page
                                                                               Case Pre-Confirmation        3 3of 3
                                                                                                     Page 3 of
